
In re Monson, James; — Defendant(s); Applying for Supervisory and/or Remedial *518Writs; Parish of Ouachita 4th Judicial District Court Div. “D” Number 47,352; to the Court of Appeal, Second Circuit, Number 22720-KW.
Granted, for the purpose of transferring the petition to the district court for a determination of indigency. If relator is found to be indigent, the trial court is ordered to delete only that portion of his sentence which provides for a jail term in the event of default of payment of “restitution.” An indigent person may not be incarcerated because he is unable to pay a fine which is part of his sentence. Bearden v. Georgia, 461 U.S. 660, 103 S.Ct. 2064, 76 L.Ed.2d 221 (1983). However, we note that La.C.Cr.P. art. 886 permits the state to enforce collection of the amount owed in the same manner as a money judgment in a civil case. State v. Conley, 570 So.2d 1161 (La.1990).
HALL, J., dissents from the order.
